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                  IN THE UNITED STATES DISTRICT COURT FOR
            THE NORTHERN DISTRICT OF ILLINOIS - EASTERN DIVISION

CENTRUST BANK, N.A.,                                )
                                                    )
               Plaintiff,                           )
                                                    )
       v.                                           )       Case No. 21-cv-2576
                                                    )
RUBEN YBARRA, et al.,                               )
                                                    )
               Defendants.                          )

             CENTRUST’S UNOPPOSED MOTION TO RESET DEADLINE
                  FOR PROPOUNDING WRITTEN DISCOVERY

       Plaintiff, Centrust Bank, N.A. (“Centrust” or the “Bank”), for its Unopposed Motion to

Reset the Deadline for Propounding Written Discovery, states as follows:

       1.      On May 12, 2021, Plaintiff filed its Complaint and thus commenced the above-

referenced case (Dkt. 1) (“Complaint”).

       2.      On July 22, 2021, Defendants filed the Defendants’ Combined Motion to Dismiss

Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) (Dkt. 16) (the “Motion to Dismiss”).

       3.      On December 15, 2021, the Court entered an Order dismissing without prejudice

the claim under the Declaratory Judgment Act (Dkt. 27).

       4.      Pursuant to Fed. R. Civ. P. 12(a)(4), Defendants’ answer to the Complaint was due

on or before December 29, 2021. Fed. R. Civ. P. 12(a)(4).

       5.      Defendants requested, and Defendants were granted, additional time to answer the

Complaint up to and including January 28, 2022.

       6.      The Court’s Order of December 15, 2021, also required the parties to propound

written discovery on or before January 21, 2022. See, Dkt. 27.

       7.      Because Defendants will not have answered the Complaint and the parties will not

be at issue until January 28, 2022, at the earliest, Plaintiff reasonably requires additional time
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beyond January 21, 2022, to propound written discovery.

       8.      Among other things, Plaintiff wishes to propound written discovery related to any

allegations, affirmative defenses or other matters raised by Defendants in their answers, and

Plaintiff will not be able to do so at least until they have reviewed Defendants’ answers after

January 28, 2022.

       9.      Plaintiff thus requests that the Court enter an order resetting to February 11, 2022,

the deadline for the parties to propound written discovery.

       10.     Defendants have been consulted about this request and have advised they do not

oppose this request.

       WHEREFORE, for all of the reasons set forth herein, Centrust Bank, N.A., respectfully

requests that the Court reset the deadline for the parties to propound written discovery from

January 21, 2022, up to and including February 11, 2022.


Dated: January 18, 2022                                       Respectfully submitted,
                                                              CENTRUST BANK, N.A.


                                                              /s/ Adam B. Rome
                                                              By: One of its Attorneys



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